Case: 1:06-cv-02927-PAG Doc #: 21 Filed: 06/28/07 1 of 3. PageID #: 273




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



United States of America                     )       CASE NO. 1:06-cv-2927
                                             )
               Appellant,                    )
                                             )
               Vs.                           )
                                             )
Kenneth Harchar, and                         )       JUDGE PATRICIA A. GAUGHAN
Andrea Harchar                               )
                                             )
               Appellees                     )
                                             )
                                             )       Memorandum of Opinion and Order
                                             )


       Currently before the Court is Appellant the United States of America’s motion for

clarification and partial rehearing. (Doc. 20). The government proffers three arguments that the

Court should grant its motion. First, the government believes that the Court should clarify

certain issues from the opinion that may decide the ultimate issue of liability. Second, the

government argues that the Court misconceived the government’s position regarding rights in

post-confirmation property and seeks reconsideration of the Court’s decision. Third, the

government posits that the Supreme Court altered the 12(b)(6) standard in Bell Atlantic v.

Twombly, 127 S. Ct. 1955 (2007). The Court will address these arguments in turn.

       With respect to the first argument, the Court notes that the appeal was an unopposed

interlocutory appeal of the Bankruptcy Court’s denial of the government’s motion to dismiss.


                                                 1
Case: 1:06-cv-02927-PAG Doc #: 21 Filed: 06/28/07 2 of 3. PageID #: 274




The Court affirmed denial of that motion as well as the Bankruptcy Court’s refusal to convert the

motion into a motion for summary judgment. Simply put, the Court sees no reason to opine on

issues that are unnecessary to that decision. Rather, the proper forum for addressing liability is

in the Bankruptcy Court.

       Regarding the second argument, the Court disagrees that it misconceived the

government’s position. The Court directs the government to its appeal brief:

       A third view, with which we agree, is that confirmation revests preexisting
       property of the estate in the debtor (except as otherwise provided in the plan),
       pursuant to § 1327, after which the future income slated for administration comes
       into the estate. This is the view of two of the three courts of appeals that have
       addressed the issue. Matter of Heath, 115 F.3d 521 (7th Cir. 1997); Telfair v.
       First Union Mortgage Corp., 216 F.3d 1333, 1340 (11th Cir. 2000). (The district
       court’s opinion in Heath, 198 B.R. 298 (S.D. Ind 1999), is perhaps more
       thorough.).

(Doc. 9, p. 27).

       The government’s cited cases, in turn, asked the question of whether post-confirmation

funds were “necessary” for administration of the plan. See Telfair v. First Union Mortgage

Corp., 216 F.3d 1333, 1340 (11th Cir. 2000) (explaining that “the plan upon confirmation

returns so much of that property to the debtor's control as is not necessary to the fulfillment of

the plan”); In re Heath, 115 F.3d 521, 524 (7th Cir. 1997) (providing to the estate “only so much

of the income (or her other property) as necessary to the fulfillment of the plan”). The

government does not mention these cases in its latest motion, and indeed, fails to cite any cases

in support of its newest position regarding post-confirmation property. Not only is this new legal

argument improper for a motion for reconsideration, Roger Miller Music, Inc. v. Sony/ATV

Publ'g, LLC, 477 F.3d 383, 395 (6th Cir. 2007), but the Court also finds it to be without merit.

Rather than adopting a position that apparently has no caselaw support, the Court continues to

                                                  2
Case: 1:06-cv-02927-PAG Doc #: 21 Filed: 06/28/07 3 of 3. PageID #: 275




agree with the growing majority of courts that post-confirmation property is property of the

estate.

          Finally, the government argues that Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955

(2007), altered the Rule 12(b)(6) standard. However, Twombly merely held that a complaint that

alleged only parallel conduct did not state a claim for an antitrust conspiracy. 127 S. Ct. at 1970-

71. The Supreme Court did not purport to change the applicable 12(b)(6) standards, and in any

event, this Court’s opinion explained that “a court is not required to accept as true unwarranted

legal conclusions and/or factual allegations.” (citing Harvey v. Great Seneca Fin. Corp., 453

F.3d 324, 327 (6th Cir. 2006)). Having fully addressed the issues under the proper standard, the

Court need not repeat its earlier opinion here.

          For the foregoing reasons, the government’s motion is DENIED.




          IT IS SO ORDERED.



                                       /s/ Patricia A. Gaughan
                                       PATRICIA A. GAUGHAN
                                       United States District Judge


Dated: 6/28/07




                                                  3
